              IN THE UNITED STATES DISTRICT COURT                        
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA                      

THEODORE BASH, D.O. and         CIVIL ACTION                             
PATTI BASH                                                               
                                No. 21-1842                              
                            v.                                           

BENEFICIAL EQUIPMENT FINANCE                                             
CORPORATION, NEWLANE FINANCE                                             
COMPANY, NEUMANN FINANCE                                                 
COMPANY, ROBERT L. SALDUTTI,                                             
ESQUIRE, REBECCA K. MCDOWELL,                                            
ESQUIRE, and SALDUTTI LAW GROUP                                          

         MEMORANDUM AND ORDER RE STATEMENT OF TIME                       
    This  Court  previously  found  that  Defendants’  removal  of  this  case  was  objectively 
unreasonable and awarded Plaintiffs attorneys’ fees.  Plaintiffs’ counsel, Wayne Ely, has submitted 
a statement of his fees and Defendants raises several arguments in response. 
I.   Parties’ Arguments                                                   
    First, Defendants argue that because Mr. Ely was retained on a contingency basis, his fees 
were not “actually incurred” as required by 28 U.S.C. § 1447(c).  Second, Defendants argue that 
Mr. Ely billed excessive amounts of time, and third that his rate is too high.  
II.  Discussion                                                           
    28 U.S.C. § 1447(c) states that “[a]n order remanding the case may require payment of just 
costs and any actual expenses, including attorney fees, incurred as a result of the removal.”  
Defendants argue that Mr. Ely’s fees were not “incurred” because he did not actually bill his client, 
as he was retained on a contingency basis.  In a recent Middle District case, relying on Ninth and 
Seventh Circuit precedent, Judge Matthew Brann found that plaintiffs may “recover attorneys’ 
fees even where they are represented on contingency.”  King v. Alpha Sigma Tau Nat’l Found., 
Inc., No. 20-778, 2020 WL 7041767, at *1 (M.D. Pa. Dec. 1, 2020).  Both the Ninth and Seventh 
Circuits based this holding on the fact that it was most consistent with the purpose of § 1447(c), 
which is to deter improper removal.  Id. at *2.  “It would undermine the statute’s purpose to exclude 
recovery for parties represented on contingency simply because their attorneys do not use a 

traditional billing model.”  Id.  The Third Circuit has not specifically weighed in on this issue, but 
this Court agrees with Judge Brann and the cases on which he relied.      
    With respect to Mr. Ely’s billing, Defendants raise two issues.  First, Defendants argue that 
he billed too much time for drafting the Motion and Memorandum regarding the remand, 2.3 hours 
and 4 hours respectively, because the Motion and Memorandum are almost identical.  The 
Memorandum is two pages longer than the Motion and includes many additional legal citations.  
While there is a significant amount of overlap, the additional legal research justifies the time billed 
for drafting the Motion.                                                  
    Second, Defendants argue that Mr. Ely should not have billed administrative tasks at an 
attorney rate.  Defendants point to the entries of “file motion with Court,” “file reply letter,” 

“review and calendar Judge Baylson’s Order” and “filing of attorney time statement with Court” 
as being administrative tasks.  Regarding filing documents with the Court, these entries are not 
listed separately from the time spent on drafting those filings.  The time billed is appropriate for 
drafting and thus there is no issue with charging for administrative tasks.  Additionally, reviewing 
a Judge’s order is a task appropriately completed by an attorney.         
    Lastly, Defendants take issue with Mr. Ely’s rate and argue that he did not submit a 
certification himself, but instead submitted a certification from another, similarly experienced 
attorney.  This is not controlling.  Plaintiff’s counsel has requested a reasonable rate.  “The fee 
schedule established by Community Legal Services, Inc. (‘CLS’) has been approvingly cited by 
the  Third  Circuit  as  being  well  developed  and  has  been  found  by  the  Eastern  District  of 
Pennsylvania to be a fair reflection of the prevailing market rates in Philadelphia.”  Maldonado v. 
Houstoun, 256 F.3d 181, 187 (3d Cir. 2001).  The CLS fee schedule provides that a reasonable 
rate  for  attorneys  with  more  than  25  years  of  experience  is  $650-700  per  hour.    See  

https://clsphila.org/about-community-legal-services/attorney-fees/.  Mr. Ely has been practicing 
for approximately 27 years.  Therefore, his proposed rate of $450 per hour is reasonable.  
III.  Conclusion                                                          
    Based on the above discussion, the Court will award Plaintiffs the full amount of fees 
requested.                                                                
    AND NOW, on this 16th day of June, 2021, upon consideration of Plaintiffs’ Statement 
of Time (ECF 7), Defendants’ Response (ECF 8), and Plaintiffs’ Reply (ECF 9), it is hereby 
ORDERED that Attorneys’ fees in the amount of $5040.00 are awarded to Plaintiff, and shall be 
paid to Plaintiffs within fourteen (14) days.                             



    DATED: 6/29/2021              BY THE COURT:                          

                                  /s/ MICHAEL M. BAYLSON                 
                                                                                   ________________________________  
                                  MICHAEL M. BAYLSON, U.S.D.J.           


O:\CIVIL 21\21-1842 Bash v. Saldutti Law Group\21-1842 Memo and Order Re Fee Amount.docx 